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IN THE UNITED STATES DISTRICT COURT

RIGINAL NORTHERN DISTRICT OF TEXAS e022 DEC 2 Mies

DALLAS DIVISION u mb
CHERYL YVETTE JERNIGAN §
Plaintiff, §
§
Vi § No. 3:22-cv-02580-D (BT)
§
CHARLES B. McMILLAN, et al., §
Defendant, §
§

OBJECTION TO MAGISTRATE JUDGE’S QUESTIONNAIRE TO PLAINTIFF

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, CHERYL YVETTE JERNIGAN, PLAINTIFF IN ABOVE
STYLE AND NUMBERED CAUSE, AND WOULD SHOW THE FOLLOWING.
I.
OBJECTION

Plaintiff Object to the Magistrate moving forward in this cause by sending Plaintiff
The Magistrate Judge’s Questionnaire that is due back to the Magistrate by January 10,
2023, (incorrect year on document January 10, 2022), the correct date is three-days
before the Defendants response of Waiver of Service of Summons is due back to
Plaintiff, which is January 13, 2023. In accordance with 28 U.S.C. § 636(c)(1) and
Fed. R. Civ. P. 73(B) and Miscellaneous Order No. 6 of the Northern District of Texas
provides that it is the plaintiff's obligation to attach a copy of this notice to the

complaint and summons, when served.

See Attached Exhibit (A). NOTICE AND ELECTION REGARDING CONSENT TO

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PROCEED BEFORE A UNITED STATES MAGISTRATE JUDGE
I.
I acknowledge the availability of a United States Magistrate judge to try this case or
rule on dispositive motions, but chooses not to consent to proceed before the

Magistrate Judge.

II.
PRAYER

WHEREFORE PREMISES CONSIDERED, Plaintiff prays respectfully that
all decisions made in the Plaintiff's cause of action, will be heard, and

decided by The United States District Judge of said Court.

Respectfully submitted,

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Cheryl Y. Jernigan try
1443 Morrell Ave.
Dallas, Texas 75203

Telephone: (214) 557-4296
cyjern1026@gmail.com

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STYLE OF CASE : Cheryl Y. Jernigan

Docket NO. Case 3:22-cv-02580-D (BT)

Date December 30, 2022, EXHIBITS

NO EXHIBIT LIST DATE PAGES

1 Notice of Right to Consent 12/30/2022 2

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TRIALS BY THE UNITED STATES MAGISTRATE JUDGE

In accordance with 28 U.S.C. § 636(c)(1) and Fed. R. Civ. P. 73(b), upon consent of all parties in a civil
case, the district judge may enter an order reassigning the civil case to a magistrate judge. Miscellaneous
Order No. 6 of the Northern District of Texas provides that it is the plaintiff's obligation to attach a copy of
this notice to the complaint and summons, when served.

NOTICE OF RIGHT TO CONSENT TO PROCEED BEFORE
A UNITED STATES MAGISTRATE JUDGE

The Court has experienced, competent, and hard—working magistrate judges who are available to try jury
and non—jury civil cases pursuant to 28 U.S.C. § 636(c). Consent to proceedings before a magistrate judge
may allow you to expedite the handling of your case.

You may consent to the exercise of civil jurisdiction over your case by a magistrate judge. If all parties
involved in your case consent, the presiding district judge may reassign your case to a magistrate judge.

Your decision to consent to the reassignment of your case to a magistrate judge, or not to consent, is
entirely voluntary and without any adverse consequences if you choose not to consent. Your decision
should be communicated to the clerk of the district court using Notice and Election Regarding Consent to
Proceed Before a United States Magistrate Judge form. A district judge or magistrate judge will not be
informed of any party's decision unless all parties have consented to the reassignment of the matter to a
magistrate judge. *
Even if all parties consent to the exercise of civil jurisdiction by a magistrate judge, the district judge may
choose not to enter an order reassigning the case to a magistrate judge. However, if the district judge
reassigns your case to the magistrate judge, the magistrate judge is then authorized to conduct any or all
proceedings in the case, including a jury or non—jury trial, and order the entry of a final judgment. Upon
entry of judgment by the magistrate judge in any case transferred under 28 U.S.C. § 636(c)(1), 28 U.S.C. §
636(c)(3) provides that "an aggrieved party may appeal directly to the appropriate United States court of
appeals from the judgment of the magistrate judge in the same manner as an appeal from any other
judgment of a district court.” ,

IMPORTANT NOTE: This submission is not treated as a filing in ECF, so the consent form will not
appear on the docket sheet.

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Certificate of Service

On December 30, 2022, I filed the foregoing document, with the clerk of court for the U.S.
District Court, Northern District of Texas. I hereby certify that I have served the document on
all counsel and/or pro se parties of record by a manner authorized by Federal Rules of civil
Procedure 5 (b)(2)

OBJECTION TO MAGISTRATE JUDGE QUESTIONNIRE TO PLAINTIFF.

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Cheryl Y* Jernigan Pro-Se

Charles B. McMillan YOUTUBE, INC.
224 DooLittle Dr. 901 Cherry Ave
Chapin, S.C. 29036 Second Floor

San Bruno, CA.94066

